Case 4:22-cr-00253-P Document9 Filed 08/30/22 Page1iof1i PagelD13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

 

 

 

 

 

 

 

 

 

JUDGE: JEFFREY L. CURETON

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UNITED STATES OF AMERICA reo a § SHAWN § HS AUSA
v. AYG 30 ree
LAUREN WHITNEY MOORE § CURT CRU A

queroeese7 eT RCT C OURT
DEFENDANT(S) NAME(S) AND NUMBER(}} CLE RB, UL SB Ks ES UNSEL FOR DEFENDANTS APPT - (A), Retd - (R), FPD - (F}
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By
~~ Bainrriac appearance CJ wenrmily.. [lsowp-Hearino CIPRELIMINARY HEARING
C7] DETENTION HEARING L] COUNSEL DETERMINATION HEARING L_] REMOVAL HEARINGL_| EXTRADITION HEARING
[7] HEARING CONTINUED ON CASE NO. Corner vistricr lL pivision
f4 DATE OF FEDERAL ARREST/CUSTODY: 9/30/22] APPEARED ON WRIT
DEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES L] pROBATION/SUPERVISED RELEASE VIOLATOR
DEFT FIRST APPEARANCE WITH COUNSEL.
[Apert CI Mw (MATERIAL WITNESS) _ appearep eAwire CE] wirrourt counse
REQUESTS APPOINTED COUNSEL.
£2] FINANCIAL AFFIDAVIT EXECUTED.
(J orDER APPOINTING FEDERAL PUBLIC DEFENDER.
epnvare COUNSEL APPOINTED
DEFT HAS RETAINED COUNSEL
] ARRAIGNMENT SET (_] DETENTION HEARING SET
(1) PRELIMINARY HEARING SET _] BOND HEARING SET
[7] coUNSEL DETERMINATION HEARING SET
CJ tpentity/REMOVAL HEARING SET _
[ClsonpClserQ repucep to $ —_ Gleasu Osurery Clio Cler Suns Carp pry Omw
LI No BOND SET AT THIS TIME, __ DAY DETENTION ORDER TO BE ENTERED.
[7] orDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED,
Jxlorver OF DETENTION PENDING TRIAL ENTERED,
C1] DEFT ADVISED OF CONDITIONS OF RELEASE.
[7] ponp executed LJ peer CL] mw reveasep CJ state AutHorities L] ins
rigpent LJ mw REMANDED TO CUSTODY.
DEFT ORDERED REMOVED TO ORIGINATING DISTRICT.
C1 waiver or C1 previinary HEARING L] RULE 5/32 HEARING L] pETENTION HEARING
[] court FrInps PROBABLE CAUSE Lip C1] pc.
CJ DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRANT.
[TcovERNMENT TO NQTIFY FOREIGN.CONSULAR.¢

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